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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION


UNITED STATES OF AMERICA, et al.,                   )
                                                    )
            Plaintiffs,                             )
                                                    )
      vs.                                           )           Case No. 4:08CR181 HEA
                                                    )
CHRISTOPHER ADAMS,                                  )
                                                    )
            Defendant.                              )

                                               ORDER

         The purpose for which cash bail was posted in the above styled matter having now been

served, the Clerk is hereby ORDERED to draw a Registry Check in the sum of $2,000.00 to the

surety of record.

         Dated this 7th day of May, 2009.



                                                           HENRY EDWARD AUTREY
                                                        UNITED STATES DISTRICT JUDGE



  **************************************************************************
                    VERIFICATION OF DEFENDANT'S STATUS
                        (to be completed by the district Court)

I certify that the amount of the bond listed above is being held in the Registry of the United States
District Court-Eastern district of Missouri. I also certify that the status of the defendant is such that
the conditions of the bond have been met as of this 6th day of May, 2009.


                                                    /s/ Cynthia Kornberger
                                                        Deputy Clerk
